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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              :
UNITED STATES OF AMERICA                      :         Case No. 22-CR-225 (CRC)
                                              :
       v.                                     :         40 U.S.C. § 5104(e)(2)(G)
                                              :
JOSIAH HUESO                                  :
                                              :

                                  STATEMENT OF OFFENSE

       Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its

attorney, the United States Attorney for the District of Columbia, and the defendant, Josiah

Hueso, with the concurrence of his attorney, agree and stipulate to the below factual basis for the

defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the

United States could prove the below facts beyond a reasonable doubt:

                        The Attack at the U.S. Capitol on January 6, 2021

       1.       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

       2.       On January 6, 2021, the exterior plaza of the Capitol was closed to members of

the public.

       3.       On January 6, 2021, a joint session of the United States Congress convened at the

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,

elected members of the United States House of Representatives and the United States Senate

were meeting in separate chambers of the Capitol to certify the vote count of the Electoral

College of the 2020 Presidential Election, which had taken place on Tuesday, November 3, 2020.


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The joint session began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30

PM, the House and Senate adjourned to separate chambers to resolve a particular objection. Vice

President Mike Pence was present and presiding, first in the joint session, and then in the Senate

chamber.

        4.       As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the

Capitol. Temporary and permanent barricades, as noted above, were in place around the exterior

of the Capitol, and USCP officers were present and attempting to keep the crowd away from the

Capitol and the proceedings underway inside.

        5.       At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks as required by USCP officers or other authorized

security officials.

        6.       At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of

more than $1.4 million dollars for repairs.




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       7.       Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed

that the building was secured. The proceedings resumed at approximately 8:00 PM after the

building had been secured. Vice President Pence remained in the Capitol from the time he was

evacuated from the Senate Chamber until the session resumed.

                Josiah Hueso’s Participation in the January 6, 2021, Capitol Riot

       8.       The defendant, Josiah Hueso, lives in San Diego, California. The defendant flew

to Washington, D.C. on January 5, 2021. On January 6, 2021, the defendant listened to part of

former President’s Trump speech, and then marched to the U.S. Capitol Building. He entered the

U.S. Capitol Building through a fire door near the Senate Parliamentarian’s Office at

approximately 2:43 p.m. shortly after the first breach. He went into the office of the Senate

Parliamentarian. and exited at approximately 2:50 p.m. after walking down a hall.

       9.       After exiting the Capitol and while on Capitol Grounds, Josiah Hueso spoke to a

reporter for CNN and said the following: “a huge group of us stormed inside and we started—we

were basically shouting at the cops. And there were people arguing with them, trying to get them

on our side, basically.”




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       10.    Josiah Hueso knowingly and voluntarily admits to all the elements of Parading,

Demonstrating and Picketing in a Capitol building pursuant to 40 U.S.C. § 5104(e)(2)(G).

Specifically, defendant admits that he willfully and knowingly entered the U.S. Capitol Building

knowing that that he did not have permission to do so. Defendant further admits that while inside

the Capitol, he willfully and knowingly paraded, demonstrated, or picketed.

                                            Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                United States Attorney
                                                D.C. Bar No. 481052

                                            By: /s/ Jeffrey A. Kiok
                                               Jeffrey A. Kiok
                                               Attorney Detailed to the U.S. Attorney’s
                                               Office for the District of Columbia
                                               N.Y. Bar No. 5400221




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                          DEFENDANT’S ACKNOWLEDGMENT

        I, Josiah Hueso, have read this Statement of the Offense and have discussed it with my

attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my

signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my

own free will. No threats have been made to me nor am I under the influence of anything that

could impede my ability to understand this Statement of the Offense fully.

Date:
                                              Josiah Hueso
                                              Defendant



                           ATTORNEY’S ACKNOWLEDGMENT

        I have read this Statement of the Offense and have reviewed it with my client fully. I

concur in my client's desire to adopt this Statement of the Offense as true and accurate.

Date: 3/29/23
                                              Josiah Hueso
                                              Attorney for Defendant




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